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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


FEDERAL TRADE COMMISSION,

                 Plaintiff,

            v.                                Case No.: 4:23-CV-03560-KH

U.S. ANESTHESIA PARTNERS, INC. et al.

                 Defendants.




                          DEFENDANTS’ APPENDIX TO
            RULE 26(f) JOINT DISCOVERY/CASE MANAGEMENT PLAN




April 5, 2024
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                                                                          2
                                                                                   Sidney K. Kanazawa, Rethinking Discovery and
                                                                                   Document Retention in the Digital Age, 13 (No. 1)
      KeyCite Yellow Flag - Negative Treatment
Clarified on Denial of Reconsideration by In re Bank of New York Mellon            PRAC. LITIGATOR 39, 47 (2002).
Corp. Forex Transactions Litigation, S.D.N.Y., November 6, 2014
                                                                              • To guard against discovery abuse, the Federal Rules of
                    2014 WL 5392465                                              Civil Procedure now provide that a “court must limit the
       Only the Westlaw citation is currently available.                         frequency or extent of discovery otherwise allowed by
                United States District Court,                                    these rules [i.e., discovery of information that is relevant
                      S.D. New York.                                             in the broadest sense] ... if it determines[, among other
                                                                                 things,] that ... the burden or expense of the proposed
       In re BANK OF NEW YORK MELLON CORP.
                                                                                 discovery outweighs its likely benefit, considering the
          FOREX TRANSACTIONS LITIGATION.                                         needs of the case, the amount in controversy, the parties'
             This document relates to: All Actions.                              resources, the importance of the issues at stake in the
              United States of America, Plaintiff,                               action, and the importance of the discovery in resolving
                               v.                                               the issues.” 3
     The Bank of New York Mellon, et ano., Defendants.                    3        Fed.R.Civ.P. 26(b)(2)(C).
                      No. 12 MD 2335(LAK).                                Thus, courts must exercise practical judgment in defining
                                |                                         the scope of pretrial discovery lest a vehicle intended to
                       Signed Oct. 9, 2014.                               facilitate just, speedy and inexpensive determinations become
                                                                          an obstacle to accomplishing any of those goals.

              MEMORANDUM AND ORDER

LEWIS A. KAPLAN, District Judge.                                                                         Facts

 *1 This matter now is before the Court because the parties               The Litigation
are at an impasse over the question whether defendants                    Although they are brought on somewhat different legal
should be permitted to take depositions of certain non-party              theories, both the civil cases included in In re Bank of New
witnesses and over the scope of other such depositions. It is             York Mellon Corp. Forex Transactions Litigation and United
well at the outset to bear in mind certain basic considerations:          States v. Bank of New York Mellon arise out of much the
                                                                          same nucleus of facts, which is described in the Court's
    • Discovery is a means of obtaining evidence that is                  opinions on motions to dismiss in the government case 4 and
      important to the resolution of cases-ideally in a “just,
                                                                          in one of the private cases. 5 Briefly stated, the Bank of New
                                             1
      speedy, and inexpensive” manner.                                    York Mellon and its affiliates (collectively “BNY Mellon”
                                                                          or the “Bank”) have custodial clients that need to engage
1        Fed.R.Civ.P. 1.                                                  in currency transactions. At times relevant to the present
                                                                          controversy, the Bank offered a so-called standing instruction
    • Discovery is not an end in itself.                                  service pursuant to which it automatically provided currency
                                                                          exchange services as needs arose. All or substantially all of
         • Discovery is not a means of obtaining raw material             the plaintiffs claim, often among other things, that the Bank,
            simply because that raw material, which bears some            through a variety of representations to clients, conveyed
            relationship to a matter in controversy, might one            the impression that it was providing its standing instruction
            day be useful. “The purpose of discovery is not               clients with the best prices it could obtain when, in fact, it was
            solely to get information .... Blindly focusing on the        charging considerably more.
            universe of relevant information can lead to a very
           expensive discovery process.” 2                                4
                                                                                   United States v. Bank of New York Mellon, 941
                                                                                   F.Supp.2d 438 (S.D.N.Y.2013) [“DOJ Case” ].




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                                                                  DEFS001
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5                                                                   7
        In re Bank of New York Mellon Corp.                                See Am. Scheduling Order [DI 422] § 2, ¶
        Forex Transactions Litig., 921 F.Supp.2d 56                        6. Notwithstanding this agreement, the parties
        (S.D.N.Y.2013).                                                    reserved their rights to object to the use of
                                                                           deposition testimony on any other grounds. See id.
The plaintiffs fall into several categories. First, the
government, suing under the Financial Institutions Reform,          8
                                                                           See id. § 2, ¶¶ 9–10.
                                                   6
Recovery, and Enforcement Act (“FIRREA”), seeks the
maximum civil penalty permitted by law, which the United            The Present Controversy
States Attorney's Office asserts amounts to hundreds of             The Bank already has taken more than 30 depositions
millions of dollars. Second, various BNY Mellon customers,          of named plaintiffs and their agents or representatives in
in some cases individually and in others on behalf of alleged       the customer cases. It now seeks to depose 11 absent
classes of customers, seek damages (1) on the basis of alleged      customer class members mentioned, if only in passing, in
false or misleading representations with respect to the pricing     the government action, and an additional eight such absent
of standing instruction foreign exchange transactions; (2) for      class members who worked as investment managers for
breach of contract; and (3) for breach of fiduciary duties          named plaintiffs. The Bank argues that these depositions
allegedly owed to them by the Bank. Third, two actions have         are appropriate because the testimony of these witnesses is
been brought on behalf of public sector customer plaintiffs         relevant to the government action on the theory that the
under the California False Claims Act. Fourth, one or more          government alleges that the Bank “engaged in a massive
actions has been brought under ERISA. Finally, a class action       scheme to defraud its ‘clients and/or their investment
on behalf of purchasers of Bank stock during a relevant period      managers' by ‘providing them confusing and misleading
seeks damages for alleged violations of the federal securities
                                                                    information.’ “ 9 It contends that the testimony it hopes to
laws, essentially on the theory that BNY Mellon statements
                                                                    obtain is “critical to its defense” because it may (1) reveal
concerning its financial position, the results of its operations,
                                                                    that there is disagreement in the industry about what “best
and other matters were false or misleading because they
                                                                    execution requires” and over the meaning of the term “free of
failed to disclose what the Bank had been up to with respect
                                                                    charge,” and (2) show that some customers were not actually
to standing instruction foreign exchange trading. While the
aggregate amount of the claims of the private plaintiffs, as far    misled. 10
as the Court is aware, has not been quantified, it doubtless is
a very large number.                                                9
                                                                           BNY Mellon Opp'n [DI 488; filed under seal], at
                                                                           1 (quoting DOJ Case, No. 11–cv–6969 (LAK),
6       12 U.S.C. § 1833a.                                                 Compl. [DI 31] ¶ 4). The Bank refers also to
                                                                           the complaint of the New York Attorney General,
                                                                           which is pending in the state court. See id.
The Discovery Program
 *2 The coordination of all of these actions has involved           10
                                                                           Id. at 1–2.
significant effort by both counsel and the Court. After
extensive consideration, the Court approved a discovery             The customer class plaintiffs dispute these assertions. They
schedule and program, two aspects of which are particularly         seek a protective order foreclosing the first 11 depositions and
salient to the present motion. First, a deposition taken in         limiting the second group of eight.
any of the private actions may be used in the government's
                                                                    Neither the government, the other plaintiffs, nor the proposed
case and vice versa. 7 Second, the presumptive limits on
                                                                    deponents has taken any position on this matter.
the number of permitted depositions were eliminated. The
private plaintiffs and the government, on the one hand, and
the defendants on the other each were permitted collectively
to take up to 150 fact depositions—i.e., up to a total of 300                                 Discussion
depositions—without further leave of the Court or agreement
                                                                    The customer class plaintiffs place principal reliance on
of the parties. 8
                                                                    the proposition that discovery of absent class members is
                                                                    permitted only upon a “ ‘strong showing’ “ that “ ‘the
                                                                    information sought (1) is not sought with the purpose or



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effect of harassment or altering membership of the class;           more specific terms as “ ‘a conscious knowing intent to
(2) is directly relevant to common questions and unavailable        defraud.’ “ 16 It will have to show also that the Bank “
from the representative parties; and (3) is necessary at trial      ‘contemplated or intended some harm to the property rights
of issues common to the class.’ “ 11 Whatever the relevance         of the victim[s]’ “ of its fraudulent scheme. 17 What it will
of this standard, it does not carry the day in the unusual          not have to prove is that those victims actually relied on
circumstances of this case. There is no serious claim here
                                                                    the Bank's misrepresentations or omissions. 18 Stated another
of harassment or of attempted alteration of the membership
                                                                    way, fraudulent intent in this Circuit “comprises two principal
of the class. Indeed, not one of the proposed deponents
                                                                    parts: (1) intent to deceive and (2) contemplation of actual
has objected to its noticed deposition or to that deposition's
                                                                    harm to the victim.” 19 It does not require that the victim
scope . 12 Moreover, BNY Mellon contends with some
                                                                    actually be deceived or even that the victim actually be
justification that the proposed deponents in fact are percipient
                                                                    harmed.
witnesses rather than mere bystanders who are included in the
class but have no relevant evidence to give. So the question
                                                                    15
comes down to the relevance of the proposed discovery and                   Id. (quoting 18 U.S.C. §§ 1341, 1343).
its significance in the litigation of this case. And while the      16
                                                                            United States v. Autuori, 212 F.3d 105, 116, 118 (2d
customer class plaintiffs have touched on this only briefly, it
                                                                            Cir.2000) (quoting United States v. Guadagna, 183
is the issue at the heart of this matter.
                                                                            F.3d 122, 129 (2d Cir.1999)).
11                                                                  17
        Mot. for Protective Order [DI 486], at 2 (quoting                   Id. at 116 (quoting Guadagna, 183 F.3d at 129).
        McCarthy v.. Paine Webber Grp., 164 F.R.D. 309,             18
        313 (D.Conn.1995)).                                                 See, e.g., Bridge v. Phoenix Bond & Indent. Co.,
                                                                            553 U.S. 639, 648–49 (2008) (“Using the mail to
12                                                                          execute or attempt to execute a scheme to defraud
        See BNY Mellon Opp'n, at 1.
                                                                            is indictable as mail fraud ... even if no one relied on
 *3 BNY Mellon does not claim that any of these proposed
                                                                            any misrepresentation.”); Neder v. United States,
depositions is critical to the defense of any of these cases save
                                                                            527 U.S. 1, 24–25 (1999) (“The common-law
the government's. And the Bank has overreached even as to
                                                                            requirement[ ] of justifiable reliance ... plainly ha[s]
the government action.
                                                                            no place in the federal fraud statutes.” (internal
                                                                            quotation marks omitted)).
The government here sues under FIRREA. As explained
in DOJ Case, its theory is that the Bank is liable for              19
                                                                            DOJ Case, 941 F.Supp.2d at 464 (citing United
civil penalties because it violated the mail and wire fraud                 States v. Regent Office Supply Co., 421 F.2d 1174,
statutes and thereby “affect[ed] a federally insured financial              1180–81 (2d Cir.1970)).
institution.” 13 The government alleges, in essence, that the
                                                                    With these considerations in mind, testimony by Bank
Bank participated in a fraudulent scheme to bilk its clients
                                                                    customers or their investment managers about their particular
and harmed itself in the process by putting federally insured
                                                                    understandings of the term “best execution,” for example,
deposits at risk. 14                                                would be only tangentially relevant, if it is relevant at all, to
                                                                    whether the Bank acted with fraudulent intent. The Bank's
13                                                                  intent depends on what the Bank thought, not on what these
        DOJ Case, 941 F.Supp.2d at 451.
                                                                    proposed witnesses thought. It is, of course, the Bank that is in
14
        See id. at 463.                                             the best position to produce evidence as to its understanding
The mail and wire fraud statutes “prohibit the use of mails or      and the basis for it. 20 And the Bank is well situated to obtain
wires in furtherance of ‘any scheme or artifice to defraud.’        evidence bearing on industry custom without gearing up the
“ 15 To prove that BNY Mellon violated these statutes,              costly machinery of depositions. No one has suggested that
the government will have to show, among other things,               the proposed deponents will testify about the alleged scheme's
that the Bank (1) affirmatively misrepresented, or failed to        impact, or lack thereof, on BNY Mellon or about the Bank's
disclose, material information that it had a duty to disclose,      intent. Nor could they.
and (2) acted with “fraudulent intent,” defined in somewhat



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                                                                  in the government's case, the Court finds that such evidence
20
       The testimony of these witnesses might be relevant,        is sufficiently unimportant to resolution of the issues at hand
       in the broad Federal Rule of Evidence 401 sense,
                                                                  that discovery should be circumscribed. 21
       to the question whether there was a common
       understanding of the term “best execution.” That
                                                                  21
       in turn could bear on the Bank's intent and on the                 See id. R. 26(b)(2)(C)(iii).
       meaning of various customer contracts to the extent
       any such common understanding was known to the
       Bank. But such an attenuated chain of relevance                                      Conclusion
       does not justify “the burden or expense of the
                                                                  In this Court's view, the Bank's arguments here are an attempt
       proposed discovery,” which “outweighs its likely
                                                                  to take a bridge too far. This is a big case. Vast amounts
       benefit” in large part because the testimony the
                                                                  of money are at stake. But the need for these depositions—
       Bank seeks is most likely to be available from
                                                                  significantly overstated as it is—is insufficient in light of the
       the Bank's own sources. See Fed.R.Civ.P. 26(b)(2)
                                                                  dubious relevance and materiality of the testimony at issue.
       (C). Moreover, the Bank is in the best position to
                                                                  Accordingly, customer class plaintiffs' motion for a protective
       provide evidence as to what the Bank thought, and
                                                                  order [DI 486] is granted in all respects.
       it has not contended that these depositions would
       be necessary or even useful in proving a common
                                                                  *4 SO ORDERED.
       understanding for the purpose of assessing the
       extent and nature of the Bank's knowledge.
Thus, while evidence obtained from the proposed depositions       All Citations
might be relevant, in the capacious sense of Federal Rules
                                                                  Not Reported in F.Supp.3d, 2014 WL 5392465
of Evidence 401 and Civil Procedure 26(b)(1), to some issue

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Rio Grande Royalty Co., Inc. v. Energy Transfer Partners, L.P., Not Reported in...


                                                                   them to review millions of pages of documents that were
                   2008 WL 8465061                                 produced to the CFTC and FERC for privilege, and would
      Only the Westlaw citation is currently available.            be unduly burdensome, resulting in hundreds of thousands of
               United States District Court,                       dollars in costs. Defendants also argue that Plaintiff's request
                       S.D. Texas,                                 is overly broad, because, inter alia, the documents produced
                    Houston Division.                              to the CFTC and FERC relate to time periods and locations
                                                                   that are not within the scope of Plaintiff's complaint.
    RIO GRANDE ROYALTY COMPANY, INC., on
  behalf of itself and all others similarly situated, Plaintiff,   The Federal Rules of Civil Procedure presume that discovery
                                v.                                 may proceed despite the filing of a Motion to Dismiss, and this
                                                                   case is not governed by a statute such as the Private Securities
        ENERGY TRANSFER PARTNERS, L.P.,
                                                                   Litigation Reform Act (PSLRA) that requires discovery to be
     Energy Transfer Company, ETC Marketing, Ltd.,
                                                                   stayed until the Court has ruled on a Motion to Dismiss. The
       and Houston Pipeline Company, Defendants.
                                                                   Court does have discretion to stay discovery pending a ruling
                       No. H–08–cv–0857.                           on a Motion to Dismiss, however. See, e.g., Landry v. Air
                               |                                   Line Pilots Ass'n Intern. AFL–CIO, 901 F.2d 404, 435–36 (5th
                         Aug. 11, 2008.                            Cir.1990); Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir.1987)
                                                                   (“A trial court has broad discretion and inherent power to
Attorneys and Law Firms                                            stay discovery until preliminary questions that may dispose of
                                                                   the case are determined.”). Some courts have recognized that
Bernard Persky, Gregory Asciolla, William Vincent Reiss,           “staying discovery may be particularly appropriate in antitrust
Labaton Sucharow LLP, New York, NY, Robert A. Chaffin,             cases, where discovery tends to be broad, time-consuming
Chaffin Stiles, Houston, TX, for Plaintiff.                        and expensive.” Netflix Antitrust Litig., 506 F.Supp. 308,
                                                                   321 (N.D.Cal.2007) (allowing narrowly-tailored discovery
Charles W. Schwartz, Skadden Arps et al., Houston, TX,
                                                                   to go forward) (citing Bell Atlantic v. Twombly, 550 U.S.
Jerome Hirsch, Skadden Arps et al., New York, NY, Steven
                                                                   544, 127 S.Ct. 1955, 1964–65, 167 L.Ed.2d 929 (2007)); see
Sunshine, Skadden, Arps, Slate, Meagher & Flom LLP,
                                                                   also In re Graphics Processing Units Antitrust Litig., No.
Washington, DC, for Defendants.
                                                                   C 06–07417, 2007 WL 2127577, at *4 (N.D.Cal. July 24,
                                                                   2007) (recognizing that Twombly did not “erect an automatic,
                                                                   blanket prohibition on any and all discovery before an
              MEMORANDUM AND ORDER                                 antitrust plaintiff's complaint survives a motion to dismiss,”
                                                                   but noting that “to allow antitrust discovery prior to sustaining
KEITH P. ELLISON, District Judge.
                                                                   a complaint would defeat one of the rationales of Twombly, at
 *1 On this day the Court considered Defendants' Motion for        least when the discovery would be burdensome.”).
Protective Order Staying Discovery. Defendants have asked
the Court to stay discovery in this case pursuant to Federal       The Court finds that the discovery requested by Plaintiff
Rule of Civil Procedure 26(b) and (c). After considering the       would constitute an undue burden for Defendants. Although
briefing and the arguments presented by parties at the July        the documents have already been assembled and produced to
22, 2008 hearing, the Court has concluded that Defendants'         government agencies, thus reducing the burden to Defendants
Motion for Protective Order Staying Discovery, Docket No.          somewhat, Defendants' need to review such a large volume
19, should be GRANTED.                                             of documents prior to producing them would be a significant
                                                                   burden. Furthermore, Plaintiff concedes that it does not
Plaintiff has asked Defendants to produce all documents            need this discovery to respond to the pending Motion to
and electronically stored information submitted to the             Dismiss. See Petrus v. Bowen, 833 F.2d 581, 582 (5th
Commodity Futures Trading Commission (CFTC), the                   Cir.1987) (upholding a discovery stay where Plaintiff would
Federal Energy Regulatory Commission (FERC), or any other          not have learned anything that could affect the resolution
government agency or investigatory body in connection with         of the dispositive motion). Although some courts have also
federal investigations into Defendants' natural gas trading        considered the strength of the dispositive motion when
activities. Defendants explain that the request would require      determining whether to stay discovery, see, e.g., Von Drake



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                                                                     *2 Defendant's Motion is, therefore, GRANTED. All
v. Nat'l Broad Co., No. 04–cv–0652, 2004 WL 1144142,
                                                                    discovery in this case, including Rule 26 disclosures, is stayed
at *1 (N.D.Tex. May 20, 2004), briefing on the Motion
                                                                    pending the Court's ruling on Defendants' Motion to Dismiss,
is not complete, and the Court does not wish to make a
                                                                    filed May 19, 2008.
premature pronouncement on its merits. 1 The Court believes
that discovery should be stayed given the burden to Defendant
                                                                    IT IS SO ORDERED.
of reviewing the documents and because Plaintiff has not
demonstrated any need for the documents prior to this Court's
ruling on the pending Motion.                                       All Citations

1                                                                   Not Reported in F.Supp.2d, 2008 WL 8465061
       This Order should not be understood as any
       indication of how the Court will ultimately rule on
       Defendants' Motion to Dismiss.


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Smith v. Potter, 400 Fed.Appx. 806 (2010)


                                                                    [5] stay of discovery pending the motion to dismiss was not
                                                                    an abuse of discretion.
      KeyCite Yellow Flag - Negative Treatment
Distinguished by Ford v. Caddo Parish District Attorney's Office,
W.D.La., May 3, 2016                                                Affirmed.

                    400 Fed.Appx. 806
                                                                    Procedural Posture(s): On Appeal; Motion to Dismiss.
               This case was not selected for
          publication in West's Federal Reporter.
         See Fed. Rule of Appellate Procedure 32.1                   West Headnotes (5)
      generally governing citation of judicial decisions
          issued on or after Jan. 1, 2007. See also
                                                                     [1]    Civil Rights     Scope of administrative
        U.S.Ct. of App. 5th Cir. Rules 28.7 and 47.5.
                                                                            proceedings; like or related claims
       United States Court of Appeals, Fifth Circuit.
                                                                            Employee of the United States Postal Service
             Ricky SMITH, Plaintiff–Appellant                               (USPS) failed to exhaust his administrative
                            v.                                              remedies as to his ADEA claims, despite his
                Post Master General John E.                                 assertion that his federal claims were separate
              POTTER, Defendant–Appellee.                                   and apart from his claims before the Equal
                                                                            Employment Office (EEO); the actions alleged
                         No. 09–60901                                       in the federal complaint were within the scope
                                |                                           of the administrative proceedings and there was
                       Summary Calendar                                     no final administrative determination on the
                                |                                           EEO formal complaint. Age Discrimination in
                         Oct. 13, 2010.                                     Employment Act of 1967, § 15(b), 29 U.S.C.A.
                                                                            § 633a(b); 29 C.F.R. § 1614.107(b).
Synopsis
Background: Employee of the United States Postal Service                    18 Cases that cite this headnote
(USPS) brought a pro se suit against the Post Master
General, asserting violations of the Age Discrimination in
                                                                     [2]    Civil Rights     Scope of administrative
Employment Act of 1967 (ADEA), the Rehabilitation Act, the
                                                                            proceedings; like or related claims
Americans with Disabilities Act of 1990 (ADA), and portions
                                                                            Employee of the United States Postal Service
of the Civil Service Reform Act of 1978 (CSRA). The United
                                                                            (USPS) failed to exhaust administrative
States District Court for the Southern District of Mississippi,
                                                                            remedies, as required for federal subject matter
2009 WL 3156528, dismissed, and employee appealed.
                                                                            jurisdiction over his Rehabilitation Act claims;
                                                                            he had not received a final determination from
                                                                            the Equal Employment Office (EEO) on his
Holdings: The Court of Appeals held that:                                   complaint, which in any event did not encompass
                                                                            all of his claims. Rehabilitation Act of 1973, §
[1] employee failed to exhaust his administrative remedies as               505(a)(1), 29 U.S.C.A. § 794a(a)(1); Civil Rights
to his ADEA claims;                                                         Act of 1964, § 717(c), 42 U.S.C.A. § 2000e–
                                                                            16(c); 29 C.F.R. § 1614.107(b).
[2] employee failed to exhaust his administrative remedies as
to his Rehabilitation Act claims;                                           21 Cases that cite this headnote

[3] ADA did not allow claims against the federal government;         [3]    Civil Rights      Exemptions
                                                                            Americans with Disabilities Act (ADA) did not
[4] employee failed to exhaust his administrative remedies as
                                                                            allow claims against the federal government,
to his CSRA claims; and
                                                                            thus defeating ADA claims asserted by a



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                                                            DEFS007
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Smith v. Potter, 400 Fed.Appx. 806 (2010)


        United States Postal Service (USPS) employee            *
                                                                        Pursuant to 5th Cir. R. 47.5, the court has
        against the Post Master General. Americans with
                                                                        determined that this opinion should not be
        Disabilities Act of 1990, § 101(5)(B)(i), 42
                                                                        published and is not precedent except under the
        U.S.C.A. § 12111(5)(B)(i); 39 U.S.C.A. § 201.
                                                                        limited circumstances set forth in 5th Cir. R. 47.5.4.
        9 Cases that cite this headnote                         Plaintiff–Appellant Ricky Smith (Smith) appeals the district
                                                                court's decision to grant Defendant–Appellee's motion to
                                                                dismiss for lack of subject matter jurisdiction for failure to
 [4]    Public Employment          Exhaustion of
                                                                exhaust administrative remedies *808 or in the alternative
        Remedies
                                                                for summary judgment. Additionally, Smith appeals the
        Employee of the United States Postal Service            district court's decision to stay discovery pending the ruling
        (USPS) failed to exhaust his administrative             on the Appellee–Defendant's motion to dismiss. For the
        remedies as to his claims under the Civil Service       following reasons, we AFFIRM the lower court's decisions.
        Reform Act (CSRA) where he had not received a
        final determination from the Equal Employment
        Office (EEO) or the Merit Systems Protection
        Board (MSPB). 5 U.S.C.A. §§ 7702, 7703(a)(1),               I. FACTUAL AND PROCEDURAL BACKGROUND
        (b)(1, 2); 29 C.F.R. §§ 1614.302(a), 1614.310.
                                                                At the time of the complaint, the Appellant, Ricky Smith, was
        4 Cases that cite this headnote                         a forty year old man employed as a letter carrier for the United
                                                                States Postal Service (USPS). From April through September
                                                                2008, Appellant filed eight informal complaints alleging
 [5]    Federal Civil Procedure           Proceedings to        discrimination to the Equal Employment Office (EEO). These
        obtain                                                  informal complaints of discrimination concerned the failure
        Stay of discovery pending a motion to dismiss           to schedule Smith as much as other employees during a six
        for lack of jurisdiction or in the alternative          month time frame, denial of a lunch break, and subjection to
        for summary judgment was not an abuse of                investigatory interviews.
        discretion where the issues were largely legal
        rather than factual in nature.                          As required by the statute, Smith submitted notice to the
                                                                EEOC of his intent to file a claim in district court under
        16 Cases that cite this headnote
                                                                the Age Discrimination in Employment Act (ADEA) on
        More cases on this issue
                                                                August 7, 2008. The ADEA requires a thirty day waiting
                                                                period before an employee can file the claim in district
                                                                court. On September 20, 2008, Smith had not yet filed a
                                                                claim in district court when he filed a formal Complaint
Attorneys and Law Firms                                         of Discrimination with the EEO alleging discrimination on
                                                                the basis of age, disability, and retaliation. Specific incidents
*807 Ricky Smith, Jackson, MS, pro se.
                                                                for EEO investigation included: not being given as many
Edward O. Pearson, U.S. Attorney's Office, Jackson, MS, for     work hours as other employees on April 18, 2008 and during
Defendant–Appellee.                                             June 4–July 25, 2008; being told to report to collections
                                                                and denied lunch on July 15; being given an investigative
Appeal from the United States District Court for the Southern   interview about scan points on July 30, 2008; being denied
District of Mississippi, 3:08–CV–660.                           overtime hours on August 11, 2008; being reassigned to North
                                                                Station on August 11, 2008; being denied rights to hold down
Before BENAVIDES, PRADO, and SOUTHWICK, Circuit                 a route on August 30, 2008; and being required to provide
Judges.                                                         medical documentation on September 22, 2008. On October
                                                                7, 2008, the USPS sent Smith a writing partially accepting
Opinion
                                                                and partially dismissing Smith's EEO Formal Complaint. The
                                                                writing detailed which incidents would and would not be part
PER CURIAM: *
                                                                of the EEO's investigation.



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Smith v. Potter, 400 Fed.Appx. 806 (2010)


                                                                    de novo. Taylor v. Acxiom Corp., 612 F.3d 325, 331 (5th
After receiving the partial acceptance/partial denial letter, but   Cir.2010). Motions filed pursuant to Rule 12(b)(1) of the
before a final determination on the EEO formal complaint,           Federal Rules of Civil Procedure allow a party to challenge
Smith filed suit against the USPS in district court, the            the subject matter jurisdiction of a district court to hear a case.
dismissal of which Smith now appeals. In his federal                FED.R.CIV.P. 12(b)(1). A case must be dismissed if the court
complaint, Smith alleges coercion by a supervisor in signing a      finds that it lacks subject matter jurisdiction. FED.R.CIV.P.
statement concerning a grievance filed by another employee;         12(h)(3). The party asserting jurisdiction bears the burden of
a sustained campaign of “discrimination and fear” and               proof for a 12(b)(1) motion to dismiss. Ramming v. United
inadequate maintenance of “standards of integrity, conduct,         States, 281 F.3d 158, 161 (5th Cir.2001) (citations omitted).
and concern for public safety” by Kirby Ragsdale, a
supervisor; retaliation for using sick leave, and an assault by     A court can find that subject matter jurisdiction is lacking
a representative of Ragsdale who tried to grab his shoulder         based on “(1) the complaint alone; (2) the complaint
during an investigative review on July 29, 2008.                    supplemented by undisputed facts evidenced in the record;
                                                                    or (3) the complaint supplemented by undisputed facts
Although Smith does not organize his federal complaint by           plus the court's resolution of disputed facts.” Ramming,
counts, Smith cites the following statutes as a basis for           281 F.3d at 161 (citing Barrera–Montenegro v. United
jurisdiction: the Age Discrimination in Employment Act of           States, 74 F.3d 657, 659 (5th Cir.1992)). When a defendant
1967 (ADEA), 29 U.S.C. § 633(a); the Rehabilitation Act of          submits a factual attack on the complaint, he must provide
1973, 29 U.S.C. § 791 et seq.; the Americans with Disabilities      support with “affidavits, testimony, or other evidentiary
Act of 1990(ADA), 42 U.S.C. §§ 12112, 12203; and portions           materials.” Paterson v. Weinberger, 644 F.2d 521, 523 (5th
of the Civil Service Reform Act of 1978 (CSRA), 5 U.S.C. §§         Cir.1981). Given the burden of proof on the party asserting
2301, 2302. Appellee moved to dismiss for failure to exhaust        jurisdiction, the plaintiff must submit evidence to prove, by
administrative remedies or in the alternative for summary           a preponderance of the evidence, that the court does have
judgment. Appellee also moved to stay discovery pending             jurisdiction based on the complaints and evidence. Id. Courts
the court's ruling on the motion to dismiss, which the district     are to hold pro se litigants to less stringent pleading standards
court granted. The district court concluded that the scope of       than other parties. See Estelle v. Gamble, 429 U.S. 97, 106,
the EEO administrative proceedings were sufficiently broad          97 S.Ct. 285, 50 L.Ed.2d 251 (holding that pro se pleadings
to include the issues in the federal complaint. Because the         are to be liberally construed); see also Haines v. Kerner, 404
EEO had *809 not yet made a final ruling on Smith's                 U.S. 519, 520–21, 92 S.Ct. 594, 30 L.Ed.2d 652 (1972).
discrimination complaint, the district court granted the motion
to dismiss for failure to exhaust administrative remedies.
                                                                       2. Discussion
On appeal, Smith claims that his federal complaint contained        In his complaint, Smith lists several statutes as a basis for
separate and distinct issues than his EEO discrimination            jurisdiction: the Age Discrimination in Employment Act
complaint, and therefore that the dismissal for lack of subject     (ADEA), 29 U.S.C. § 633a; the Rehabilitation Act of 1973,
matter jurisdiction was improper. Smith also appeals the            29 U.S.C. § 791 et seq.; the Americans with Disabilities Act
district court's decision to stay discovery pending the motion      (ADA), 42 U.S.C. §§ 12112, 12203; and portions of the Civil
to dismiss.                                                         Service Reform Act (CSRA), 5 U.S.C. §§ 2301, 2302. We
                                                                    address the plaintiff-appellant's claims under each of these
                                                                    statutes in turn.

                      II. DISCUSSION
                                                                       A. ADEA Claims
A. Subject Matter Jurisdiction and Exhaustion of                     [1] Defendant–Appellee contends that Smith had not
Remedies                                                            exhausted his administrative remedies as required by the
                                                                    ADEA because there had been no final determination by
  1. Jurisdiction and Standard of Review
                                                                    the EEO on his discrimination claims. Smith argues that his
We have jurisdiction over the final judgment of the district
                                                                    federal claims are separate and apart from his EEO claims,
court under 28 U.S.C. § 1291. This court reviews the grant
                                                                    and therefore that he did not need to exhaust administrative
of a 12(b)(1) motion to dismiss for lack of jurisdiction
                                                                    remedies for these claims.


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Smith v. Potter, 400 Fed.Appx. 806 (2010)


                                                                   work schedule and limitation of hours on April 18, 2008 and
When a federal employee pursues a claim of age                     May 31st through June 6th; harassing requests for medical
discrimination under the ADEA, the individual may gain             records; an investigative interview on July 29th, 2008; and
relief using one of two procedural paths. *810 Stevens             an assault by a representative of Ragsdale at the investigative
v. Dept. of Treasury, 500 U.S. 1, 5, 111 S.Ct. 1562, 114           interview, an incident that Smith explained in his response is
L.Ed.2d 1 (1991); White v. Frank, 718 F.Supp. 592, 595             intended to demonstrate discrimination and is not intended to
(W.D.Tex.1989), adopted by White v. Frank, 895 F.2d 243,           state a separate cause of action.
243–44 (5th Cir.1990) (per curiam). If the employee forgoes
his administrative remedies, he may proceed directly to            Each of the incidents that Smith lists on his federal
federal district court. Stevens, 500 U.S. 1, 5–6, 111 S.Ct. 1562   complaint falls under the purview of Smith's EEO complaint.
(1991); White, 718 F.Supp. at 595; see 29 U.S.C. § 633a(d).        Smith's EEO complaint generally alleges discrimination
Alternatively, the employee may choose the administrative          and retaliation on the basis of age. In support of his
route and file a formal complaint with the EEO of the federal      allegations, Smith lists grievances including the limitation
agency. Stevens, 500 U.S. at 5, 111 S.Ct. 1562; White, 718         of his scheduled hours to less than other employees by
F.Supp. at 595; see 29 U.S.C. § 633a(b). Once an employee          management and Ragsdale over a six month period that
proceeds down the administrative route, he “must completely        included the time periods listed on his federal complaint.
exhaust his administrative remedies before commencing suit         The EEO complaint and investigation also include a request
in federal court.” White, 718 F.Supp. at 595. Essentially, the     for medical documentation on September 22, 2008 that
employee must wait for a final determination from the EEO.         Smith implies is a result of retaliatory harassment and
                                                                   discrimination on his federal complaint. The EEO complaint
Where the agency notifies the employee in writing that it          and investigation also discuss an investigative interview
believes that some but not all of the claims in a complaint        about points, at which Smith alleges the assault by Ragsdale's
should be dismissed and gives its rationale, such notification     representative took place.
is not final or appealable until final action is taken on the
remainder of the complaint. See 29 C.F.R. § 1614.107(b); see        *811 Given that the EEO complaint was broad enough
also Franklin v. Potter, 600 F.Supp.2d 38, 61 (D.D.C.2009)         to include all these claims, Smith had to exhaust his
(“when the agency only partially dismisses a complaint,            administrative remedies before pursuing judicial relief after
there is no final action”); Puckett v. Potter, 342 F.Supp.2d       he chose the administrative procedural path. He did not
1056, 1065 (M.D.Ala.2004) (“The effect of an agency's              exhaust his administrative remedies because he proceeded to
dismissal ... depends on whether the agency dismisses all of       court only after a partial acceptance and dismissal. A partial
the complainant's claim or only some of them.”).                   acceptance and dismissal is not a final determination. To
                                                                   exhaust his remedies, Smith had to wait until final action was
We agree with the government and the district court that           taken on the rest of his complaint. The district court properly
Smith failed to exhaust his administrative remedies because        granted Appellee's motion to dismiss for failure to exhaust
the actions alleged in the federal complaint are within            administrative remedies under the ADEA.
the scope of the administrative proceedings and there was
no final determination from the EEO on the EEO formal
complaint. The scope of the EEO administrative proceedings            B. Rehabilitation Act Claims
and whether a final determination was made are paramount in         [2] In addition to age discrimination and retaliation, Smith
resolving the jurisdictional issue.                                alleges discrimination and retaliation because of his disability.
                                                                   He alleges that both the scheduling decisions and the
First, we examine whether the EEO administrative                   “ineligible” grade on the postal exam were motivated by
proceedings were broad enough to encompass Smith's federal         disability. Smith lists both the Rehabilitation Act and the
claims. In his federal complaint, Smith alleges that his           ADA as bases for jurisdiction. As we will explore in the next
age motivated several discriminatory and retaliatory actions       section, the ADA does not allow claims against the federal
including: a sustained campaign of “discrimination and fear”       government, thus Smith must assert his disability claims
by Kirby Ragsdale, a supervisor; inadequate maintenance            under the Rehabilitation Act.
of “standards of integrity, conduct, and concern for public
safety” by Ragsdale and the USPS; removal of Smith from the        The Rehabilitation Act adopts the “remedies, procedures,
                                                                   and rights set forth in section 717 of the Civil Rights Act


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of 1964.” 29 U.S.C. 794a(a)(1). Thus, “the Rehabilitation             under the Rehabilitation Act that are not encompassed in the
Act ... established a private right of action subject to the same     EEO complaint, Smith has failed to exhaust his remedies
procedural constraints (administrative exhaustion, etc.) set          because he has not pursued administrative remedies first. The
forth in Title VII of the Civil Rights Act....” Prewitt v. United     district court properly granted the motion to dismiss for lack
States Postal Serv., 662 F.2d 292, 304 (5th Cir. Unit A 1981).        of jurisdiction for the Rehabilitation Act claims.
In contrast to the ADEA, under the Rehabilitation Act, an
employee can only pursue judicial relief by one procedural
path. As a precondition to bringing an action in federal court,          C. ADA claims
a complaining employee “must exhaust their administrative              [3] Smith also lists the ADA as a jurisdictional basis and
remedies by filing [the] charge of discrimination with the            alleges claims based on discrimination due to his disability.
EEO division of their agency.” Pacheco v. Mineta, 448                 Under the ADA, entities covered by the statute may not
F.3d 783, 788 (5th Cir.2006) (discussing the exhaustion               discriminate on the basis of an employee's disability. 42
requirement for Title VII claims).                                    U.S.C. § 12112. Section 12111 defines “covered entity” as
                                                                      an employer or employment agency. 42 U.S.C. § 12111(2).
To exhaust administrative remedies, the employee must either          However, section 12111 goes further to say that the term
(1) receive notice of final action taken by the agency or by the      “employer” excludes the entire federal government from
EEOC upon an appeal from a decision or order of the agency,           coverage under the ADA. 42 U.S.C. § 12111(5)(B)(i);
or (2) wait until 180 days have passed from the filing of             Henrickson v. Potter, 327 F.3d 444, 447 (5th Cir.2003). The
the administrative complaint without final agency action. 42          USPS is part of the federal government. 39 U.S.C. § 201
U.S.C. § 2000e–16(c). As explained above, where the agency            (“There is established, as an independent establishment of
notifies the employee in writing that some claims in an EEO           the executive branch of the Government of the United States,
complaint should be dismissed but not all of the claims, such         the United States Postal Service.”). Thus, we agree with the
notification is not a final action or appealable until final action   district court that no claim against the USPS is permitted
is taken on the remainder of the complaint. See 29 C.F.R. §           under the ADA.
1614.107(b); see also Franklin, 600 F.Supp.2d at 61; Puckett,
342 F.Supp.2d at 1065.
                                                                         D. CSRA Claim
                                                                       [4] Smith also cites to 5 U.S.C. section 2301 (Merit System
Exhaustion of administrative remedies is a prerequisite to
                                                                      Principles) and 5 U.S.C. section 2303 (Prohibited Personnel
federal subject matter jurisdiction. Tolbert v. U.S., 916 F.2d
                                                                      Practices), invoking the Civil Service Reform Act as a basis
245, 247 (5th Cir.1990) (citations omitted) (examining a Title
                                                                      for federal question jurisdiction. As the district court notes,
VII case). A failure to comply with this requirement deprives
                                                                      the basis of the plaintiff's CSRA claim is not clear but Smith
the district court of jurisdiction. Id. Where an employee has
                                                                      seems to indicate that he is pursuing a “mixed claim”—a
prematurely filed an action in district court, the issuance of a
                                                                      claim where the adverse employment action is motivated in
final decision by the agency before a district court can dismiss
                                                                      whole or in part by prohibited discrimination that is brought
the claim does not cure the jurisdictional defect. Id. at 249.
                                                                      before the EEO.

We agree with the government and the district court that
                                                                      Under the CSRA framework, a postal service employee may
Smith failed to exhaust his remedies. Though Smith does
                                                                      pursue relief along two procedural paths: The employee may
not specify which incidents are brought under each statute,
                                                                      either (1) bring a mixed complaint before the EEO or (2)
it seems that Smith is claiming that his disability motivated
                                                                      bring a mixed appeal before the Merit Systems Protection
USPS management to limit his hours, deny overtime, and give
                                                                      Board (MSPB). 29 C.F.R. § 1614.302(a) (defining “mixed
a rating of “ineligible” in the writing section of the USAP
                                                                      case complaint” and “mixed case appeal”); 5 U.S.C. § 7702.
Exam 600. As we discussed above, the limitation of his hours
                                                                      Pursuant to subsection (b) of C.F.R. section 1614.302, the
and denial of overtime are *812 encompassed by his EEO
                                                                      employee must elect one of these paths; he cannot do both.
complaint, which alleges discrimination on the basis of age,
                                                                      29 C.F.R. § 1614.302(b). The EEO or the MSPB will decide
disability, and retaliation. Smith has failed to exhaust his
                                                                      both the issues of discrimination and the adverse employment
remedies on these claims because he has not received a final
                                                                      action. 29 C.F.R. § 1614.302; 5 C.F.R. § 1201.156 (“the
determination from the EEO on his EEO complaint. For the
                                                                      judge will decide both the issue of discrimination and the
“ineligible” rating and any other claims he may be raising
                                                                      appealable action within 120 days after the appeal is filed”).


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                                                                         will be reversed only where they are arbitrary or clearly
Once the employee who initiates either of these procedural
paths receives a final determination, the employee may                   unreasonable.” Mayo v. Tri–Bell Indus., Inc., 787 F.2d 1007,
pursue judicial review of the final determination. 29 C.F.R.             1012 (5th Cir.1986) (citations omitted). Accordingly, we
§ 1614.310; 5 U.S.C. § 7703(a)(1) & (b)(1)-(2). Cases of                 review the trial court's grant of the motion to stay discovery
discrimination subject to provisions of section 7702 “shall              pending the motion to dismiss for abuse of discretion.
be filed under section 717(c) of the Civil Rights Act of                 Richardson v. Henry, 902 F.2d 414, 417 (5th Cir.1990).
1964 (42 U.S.C. 2000e–16) [or] section 15(c) of the Age
Discrimination in Employment Act of 1967 (29 U.S.C.
                                                                            2. Discussion
633a(c))....” 5 U.S.C. § 7703(b)(2). As discussed above these
                                                                          [5] Smith argues that the trial court's grant of the motion to
provisions require exhaustion of administrative remedies
                                                                         dismiss was inappropriate because it did not to allow adequate
before the federal court may have jurisdiction.
                                                                         time for discovery as required by Rule 56(c). Here, the issues
                                                                         to be examined in the motion to dismiss for lack of jurisdiction
Smith has failed to exhaust his administrative remedies
                                                                         or in the alternative for grant of summary judgment were
because he has not received a final determination from the
                                                                         largely legal rather than factual in nature. Thus, we find no
EEO or the MSPB. Accordingly, we agree with *813 the
                                                                         abuse of discretion in staying discovery.
district court that it lacks jurisdiction to hear his CSRA claims.
                                                                         AFFIRMED.
B. Discovery Issue
                                                                         All Citations
   1. Standard of Review
The control of discovery “is committed to the sound
                                                                         400 Fed.Appx. 806
discretion of the trial court and its discovery rulings

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                 IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

BERTHA M. FONTENOT, ET AL.              §
                                        §
v.                                      §    CIVIL ACTION NO. 4:12-CV-03503
                                        §
CITY OF HOUSTON, ET AL.                 §

           CITY OF HOUSTON AND JANE DOE DEFENDANT 1’S
                 MOTION TO STAY THE PROCEEDINGS

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           STATEMENT OF NATURE AND STAGE PROCEEDING

Nature of proceeding: Plaintiffs Bertha M. Fontenot, David Miller, and Santa
                      Zamarron [Plaintiffs] filed suit (both individually and on
                      behalf of an alleged class) against the City of Houston
                      [Houston], Jane Doe Defendant 1 [Doe] (in her alleged
                      official capacity as Surcharge Violation Reporting
                      Coordinator for the City of Houston Municipal Courts
                      Department), and other defendants. Among other things,
                      Plaintiffs purport to assert claims against Houston under
                      Section 1983 of Title 42 of the United States Code [Section
                      1983] and claims against Doe under the ultra vires exception
                      to governmental immunity under Texas law. They allege that
                      Houston and Doe incorrectly reported their municipal court
                      convictions for failure to display a driver’s license as
                      convictions for driving without a driver’s license to the Texas
                      Department of Public Safety [DPS] and that DPS then
                      assessed surcharges against them based on such incorrect
                      reports.

Stage of proceeding:     Plaintiff Fontenot originally filed this suit against Houston
                         and other defendants on December 3, 2012. Plaintiffs Miller
                         and Zamarron joined this suit as additional plaintiffs on April
                         22, 2013, through an amended complaint that also named Doe
                         and others as additional defendants. The State of Texas
                         Defendants Steve McGraw and Susan Combs (“the State of
                         Texas”) filed a motion to dismiss, which the Court granted in
                         part and denied in part; the State of Texas has filed an
                         interlocutory appeal and a Notice of Stay. Houston and Doe
                         filed their motion to dismiss on October 7, 2013, which is
                         pending before the Court.




                                         iii

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                        ISSUE(S) PRESENTED

 Should the Court stay the proceedings pending both the resolution of
 Houston’s motion to dismiss and the State’s interlocutory appeal?

 Yes. Staying the entire case is appropriate under the circumstances,
 because (1) Houston and Doe have a substantial likelihood of succeeding
 on the merits; (2) not granting a stay would hurt Houston and Doe; (3)
 granting a stay would not harm the other parties; and (4) public interest
 would be served by the granting of a stay.




                                    iv

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TO THE HONORABLE KENNETH M. HOYT:

      Houston1 files this Motion to Stay proceedings and, in support thereof, would

respectfully show as follows:


                           SUMMARY OF ARGUMENT

      The circumstances and present procedural posture of this case weigh heavily in

favor of a stay of the proceedings as to all parties. Courts weigh four factors to

determine whether to grant a stay: (1) the likelihood of the movant’s success on the

merits; (2) whether the movant will be irreparably harmed if a stay is not granted; (3)

whether the other parties will be harmed if a stay is granted; and (4) whether a stay is

in the public interest.

      Houston and Doe have submitted a motion to dismiss which is pending before

this Court and which would dispose of all issues as to them in this case if granted. The

State of Texas is an indispensable party, necessary to provide the remedies which

Plaintiffs seek, and its absence prejudices Houston and Doe and does not help Plaintiffs

and the other parties in this case. Moving forward without knowing the State of Texas’s

status in this case will cause unnecessary and wasteful use of judicial and litigation



 1
        Houston is a Texas home-rule city operating under a municipal charter pursuant
 to Article XI, Section 5, of the Texas Constitution. See TEX. CONST. art. XI, § 5.
 Houston respectfully requests this Court to take judicial notice of its published charter
 and status thereunder as a home-rule city. See TEX. LOC. GOV’T CODE § 9.008(b).

                                        DEFS018
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resources. In light of the State of Texas’s notices of appeal and notice of stay, and the

pendency of Houston and Doe’s motion to dismiss, the four factors weigh heavily in

favor of staying this action until the Court of Appeals rules on the State of Texas’s

interlocutory appeal.


                FACTUAL AND PROCEDURAL BACKGROUND

      The background facts were previously set forth in Houston’s Motion to Dismiss

filed on October 7, 2013. See Docket Entry No. 62. To recap briefly, Plaintiffs assert

claims under 42 U.S.C. section 1983 against Houston and ultra vires claims against

Houston’s unnamed employee, Jane Doe, allegedly arising from Houston’s incorrect

reporting of their convictions for failure to display a driver’s license as convictions for

driving without a driver’s license to DPS.2 Plaintiffs seek class certification in their

lawsuit against Houston, Doe, State of Texas defendants Steve McGraw and Susan

Combs (collectively, “State of Texas”), Maximus, Inc., Courtview Justice Solutions,

Inc., GILA LLC d/b/a Municipal Services Bureau, and Bruce E. Cummings.




 2
        See Plaintiff’s Original Class Action Complaint (filed December 3, 2012);
 Plaintiffs’ First Amended Class Action Complaint (filed April 22, 2013) [hereinafter
 “Am. Cmplt.”]. See also TEX. TRANSP. CODE § 521.021 (prohibiting driving without
 a driver’s license); § 521.025 (requiring drivers to carry and exhibit driver’s license
 on demand by magistrate, court officer, or peace officer).

                                            2

                                        DEFS019
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      Houston and Doe filed a motion to dismiss, which is pending before this Court.

The State of Texas also filed a motion to dismiss, which was granted in part and denied

in part. The State of Texas has filed notices of interlocutory appeal and stay based on

this Court’s order signed September 18, 2013.


                         ARGUMENT AND AUTHORITIES

A.    Standard for Motion to Stay.

      A district court has broad discretion to stay proceedings pending before it and to

control its docket for the purpose of “economy of time and effort for itself, for counsel,

and for litigants.” Landis v. North Am. Co., 299 U.S. 248, 254 (1936). The power to stay

“calls for the exercise of judgment, which must weigh competing interests and maintain

an even balance.” Id. at 254-55 (citations omitted).

      A district court must balance competing interests when deciding whether to grant

a stay. In performing this balancing test, the court examines four factors: “(1) whether

the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties interested in the proceeding; and (4)

where the public interest lies.” Nken v. Holder, 556 U.S. 418, 434–35 (2009) (quoting



                                             3

                                         DEFS020
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Hilton v. Braunskill, 481 U.S. 770, 776 (1987)). The party requesting a stay bears the

burden to show that the circumstances justify an exercise of the court’s discretion. Id.

at 433–34. The Fifth Circuit reviews a district court’s discovery decisions for abuse of

discretion. Moore v. Willis Indep. Sch. Dist., 233 F.3d 871, 876 (5th Cir. 2000).


B.    The Court should stay the proceedings under the present circumstances.

      A stay of the proceedings is appropriate here, because the four factors weigh in

favor of a stay.


      1.     Houston and Doe are likely to succeed on the merits.

      Pending before this Court is Houston and Doe’s motion to dismiss, which sets

forth the reasons why Plaintiffs’ causes of action against them fail as a matter of law.

The Court has discretionary authority to issue a stay pending the outcome of

Defendants’ motion to dismiss. Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir. 1987) (“A

trial court has broad discretion and inherent power to stay until preliminary questions

that may dispose of the case are determined.”); see also Moore, 233 F.3d at 876 (“We

review a district court’s discovery decisions for abuse of discretion and will affirm such

decisions unless they are arbitrary or clearly unreasonable.”).

      Houston and Doe’s motions to dismiss raise legal questions regarding the merits

of Plaintiffs’ Section 1983 claims and this Court’s jurisdiction over the subject matter

                                            4

                                        DEFS021
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of Plaintiffs’ ultra vires claims. Those motions to dismiss have been fully briefed by the

parties and submitted for determination. If the Court grants the motions to dismiss, it

will not be necessary for both parties and the Court to devote any time and effort to

litigating these claims. The first factor weighs heavily in favor of a stay.3


      2.     Houston and Doe will suffer irreparable harm if a stay is not granted.

      The State of Texas is an indispensable party to this litigation, alone possessing

the power to correct Plaintiffs’ driving records and the entity holding the surcharge

monies. The State of Texas, through its agents, has expressed its willingness to provide

both remedies the Plaintiffs seek, and, in fact, has produced proof that it has already

done so with respect to all three Plaintiffs.4 Going forward with discovery and

numerous depositions in the absence of the State of Texas ensures duplicative litigation

expenses and a waste of resources for all parties involved, including the Plaintiffs.

Granting a stay until all parties know the State of Texas’s status with respect to this

federal lawsuit is necessary in order for the parties to be able to move forward in this



 3
         The first two factors are the most important for this analysis. See Nken, 556
 U.S. at 434–35 (“The first two factors of the traditional standard are the most critical.
 It is not enough that the chance of success on the merits be ‘better than negligible.’”)
 (quotation omitted).
 4
      See Declaration of Ms. Rebekah Hibbs, attached to State of Texas’s Motion to
 Dismiss, at Docket Entry No. 64-1 at ¶¶ 7-13.

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                                        DEFS022
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case. Asking Houston and Doe to move forward in the absence of the State of Texas

impermissibly exposes Houston and Doe to assessment of damages where the State of

Texas holds the monies collected and is the only entity that has the power to refund

those monies. In addition, the State of Texas is the only defendant that can correct the

Plaintiffs’ DPS records.


      3.     Plaintiffs and the other parties interested in the proceeding will not be
             substantially injured by a stay.

      In fact, knowing the status of the State of Texas as a defendant is helpful to all

parties in how to move forward. Assuming that all of the Plaintiffs’ accusations are

true, Houston and Doe’s alleged misconduct was a one-time harm, completed when

made, and the only relief available is from the State of Texas. Allowing Plaintiffs to

proceed without the State of Texas has the potential to harm Plaintiffs as they could

incur duplicative litigation costs and attorneys’ fees as well.


      4.     The public interest is best served when a Court considers judicial
             economy and litigation economy for a governmental entity like
             Houston in order to protect the public fisc.

      A governmental entity has a duty to the public and to the public trust. The

governmental entity must act in the public interest and is responsible for the faithful

management of the public fisc. Requiring Houston and Doe to move forward while


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their motion to dismiss is pending and the State of Texas is absent is wasteful of judicial

resources and will cause duplicative litigation expenses for the non-State of Texas

parties holding depositions without the State of Texas, conducting discovery and

hearings without the State of Texas, and trying to fashion a remedy without the State of

Texas. A stay furthers judicial economy by reducing the likelihood that the parties will

have to relitigate claims over the same material in the future. Granting a stay would also

promote the orderly course of justice because it would prevent unnecessary waste of

judicial and litigation resources. See Landis, at 299 U.S. at 256 (explaining also that a

delay may be required if “public welfare or convenience will thereby be protected”).

In short, denying a stay under the circumstances is not a good use of the public fisc and

judicial economy, particularly at a time when both of those resources are scarce. This

factor also weighs heavily in favor of a stay.


                           CONCLUSION AND PRAYER

      FOR THESE REASONS, Houston respectfully requests the Court to grant this

Motion to Stay, as all four factors presented above weigh in favor of a stay under the

circumstances of this case.
                                        Respectfully submitted,

                                        DAVID M. FELDMAN
                                        City Attorney


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                                         DEFS024
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                                  8

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                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has
been forwarded via the indicated means on this 15th day of October, 2013 to the
following parties and/or counsel of record:

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                                  DEFS027
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    FEDERAL TRADE COMMISSION,

                                Plaintiff,
                                                        Civil Action No. 1:20-cv-03590 (JEB)
                         v.

    META PLATFORMS, INC.

                                Defendant.



                    JOINT CIVIL RULE 16.3 REPORT TO THE COURT

        In accordance with Federal Rule of Civil Procedure 26(f) and Civil Local Rule 16.3,

Plaintiff Federal Trade Commission (“FTC”) and Defendant Meta Platforms, Inc. (“Meta”) have

met and conferred, and hereby submit this Joint Meet and Confer Statement and proposed

Scheduling and Case Management Order to the Court. See Ex. A (FTC Proposed Scheduling

Order), Ex. B (Meta Proposed Scheduling Order). 1

        1.      Service of Complaint. Counsel for Meta has accepted service of the Complaint

and waived formal service of a summons.

        2.      Initial Disclosures. The Parties exchanged initial disclosures on February 22,

2022.

        3.      Local Rules 16.3(c)(1), 16.3(c)(4), 16.3(c)(5).

             a) Likelihood of Disposal by Dispositive Motion.




1
 Where the Parties are in agreement, their agreed position is as stated in the numbered
paragraphs. Where they disagree, their respective positions and explanations for their positions
are set forth separately in the numbered paragraphs.

                                                 1
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     Plaintiff’s Position: Plaintiff does not anticipate that any motions for summary

     judgment that might be filed will impact the scope or timing of discovery.

     Defendant’s Position: Meta anticipates it will file a motion or motions for

     summary judgment and reserves its rights as to the timing of the motion or

     motions.

  b) Settlement. The Parties do not believe that settlement discussions would be

     useful to engage in at this time.

  c) ADR. The Parties have considered the possibility of using alternative dispute

     resolution procedures but do not believe that ADR would be useful to engage in at

     this time. At a later time, the Parties will confer regarding whether mediation

     may be appropriate.

  d) Bifurcation.

     Plaintiff’s Position: The parties should proceed expeditiously to a trial that deals

     exclusively with liability issues. Following the liability trial, Plaintiff anticipates

     a separate remedy hearing. The provisions set forth below relating to discovery

     shall not apply to any additional discovery to facilitate a remedy phase. The

     parties should meet and confer at an appropriate time and submit to the Court, no

     later than five weeks prior to the final pretrial conference, proposals for an

     amended or separate Case Management Order governing the remedy phase.

     Defendant’s Position: Meta submits that only fact and expert discovery on

     liability issues should be scheduled at this time. Additional scheduling is

     premature, including scheduling relating to a subsequent remedies phase, if any is

     required. Such proceedings will be unnecessary if Plaintiff fails to prove its case




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               as to liability. Plaintiff’s proposal that the Parties confer on a Case Management

               Order for a remedies phase “no later than five weeks prior to the final pretrial

               conference” for the liability phase is unnecessary, disruptive, and premature.

               Only after the Court has ruled on the liability issues should any additional

               proceedings be scheduled, as the Court’s rulings will likely affect the scope and

               timing of any such subsequent phase if one is required. Meta is aware of no

               instance, and Plaintiff has cited none, where the Court has entered a Case

               Management Order relating to a separate remedies phase prior to a liability

               determination. Plaintiff has given no reason why these additional proceedings

               need to be scheduled prior to a liability determination.

       4.      Discovery Conference. The Parties have met and conferred pursuant to Federal

Rule of Civil Procedure 26(f) and Local Rule 16.3. The Parties discussed proposals for a

Scheduling and Case Management Order, as well as proposals for an ESI Order, a 502(d) Order,

and a Protective Order. These discussions satisfied the Parties’ obligation under Federal Rule of

Civil Procedure 26(f) and Local Rule 16.3.

       5.      Case Schedule. The Parties’ respective scheduling proposals, including for fact

discovery, are set forth below.

       Plaintiff’s Position:

       The Federal Trade Commission seeks a prompt end to the ongoing conduct through

which Meta unlawfully maintains its monopoly power. Accordingly, the FTC requests that the

Court set a trial date, and adopt other procedural mechanisms (described herein), to efficiently

advance discovery and expeditiously resolve the FTC’s claims. Meta – predictably – seeks




                                                 3
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                                Plaintiff,

                         v.
                                                         Civil Action No. 1:20-cv-03590 (JEB)

  META PLATFORMS, INC.


                                Defendant.



                        JOI T WROPOSEDt:SCHEDULING ORDER

        Pursuant to the Initial Scheduling Conference held February 28, 2022, and the Joint Rule

 16.3 Report previously submitted by the Parties, the Court ORDERS that the following schedule

 shall govern further proceedings:

        1.      The deadline for amendment of pleadings or joinder was February 15, 2022;

        2.      The deadline for initial disclosures was February 22, 2022;

        3.      The deadline for Plaintiff to substantially complete the.production of its

                investigatory file was February 28, 2022;

        4.      Fact discovery shall close on May 22, 2023;

        5.      Plaintiff's Rule 26(a)(2) expert disclosures shall be served July 3, 2023;

                Defendant's Rule 26(a)(2) expert disclosures shall be served September 5, 2023;

                Plaintiff's rebuttal expert reports shall be served November 6, 2023; expert

                discovery shall close on January 5, 2024.

        6.      No discovery motions may be filed without leave of court. In the event that a

                discovery dispute arises, the Parties shall make a good .faith effort to resolve or

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                narrow the areas of disagreement. If the Parties are unable to resolve the

                discovery dispute, the Parties shall jointly call chambers at (202) 354-3300, at

                which time the Court will either rule on the issue or determine the manner in

                which it will be handled; and

       7.       Parties may not extend any deadline by stipulation; instead, parties must seek

                extensions by motion. Consent motions are generally looked upon with favor by

                the Court.

       Upon consideration of the Parties Joint Rule 16.3 Report, the Court further ORDERS that

the following provisions shall govern the proceedings:

       8.       Bifurcation. There will be a first phase that will address only the Defendant's

                liability under the antitrust laws. If the Court renders a decision finding the

                Defendant liable, then the Court will hold a separate proceeding regarding any

                remedies for any violations of the antitrust laws that it finds. The provisions set

                forth below relating to discovery shall not apply to any additional discovery to

                facilitate a remedy phase.

       9.       Discovery of Confidential Information. Discovery and production of

                confidential information will be governed by the Protective Order and the ESI

                Order to be entered by the Court in this action. No deadline in this order shall

                override any deadline set forth in the Protective Order or ESI Order. When

                sending discovery requests, notices, and subpoenas to Nonparties, the Parties

                must include copies of any Protective Order in effect at the time.

        10.     Document Requests. The Parties must serve any objections to requests for

                 productions of documents within [30] days as required by Federal Rule of Civil

                 Procedure 34. Within [14] calendar days of service of any objections to a request

                                                     2




                                             DEFS032
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     14.    Depositions.

           a. Number of Depositions. Each Party is limited to 840 total deposition hours for

              fact witnesses. The hours limit refers to time of testimony actually taken on the

              record. Plaintiff may take a maximum of 42 hours of Federal Rule of Civil

              Procedure 3O(b )( 6) deposition testimony from Defendant, not including any

              time devoted to issues regarding Defendant's data.

              The following do not count against the above deposition limits: (a) depositions

              of the Parties' designated expert witnesses; (b) sworn testimony previously

              taken during the FTC's pre-Complaint investigation or in any other litigation or

              government investigation; and (c) depositions taken for the sole purpose of

              establishing the authenticity of documents, provided that such depositions must

               be designated at the time that they are noticed as being taken for the sole

               purpose of establishing authenticity.

           b. Notice of Depositions. Within [10] calendar days of receipt of a deposition

               notice, the noticed Party or Nonparty must provide any objections it intends to

               assert in response to that deposition notice, and, if relevant, an alternative date

               on which witnesses will be made available for testimony. Parties and

               Nonparties will use their best efforts to make witnesses available for deposition

               at a mutuaily agreeable time and location and without undue delay. If a witness

               is a former employee of any Party or Nonparty, upon receipt of a deposition

               notice for the fonner employee, that Party or Nonparty shall, within [10]

               calendar days of the deposition notice, provide the date of departure and last

               known address of the former employee, state whether counsel for the Party or



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                                         DEFS033
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

 UNITED STATES OF AMERICA,et al

                        Plaintiffs,

        V.                                             Civil Action No. I:23cv0108(LMB/JFA)

 GOOGLE LLC,

                        Defendant.



                                               ORDER


        This matter is before the court on plaintiffs' motion to clarify scheduling order. (Docket

 no. 276). This motion was filed on June 30,2023 and was noticed for a hearing on July 7, 2023.

 (Docket no. 278). On July 3, 2023, the court entered an order indicating this motion would be

 decided without argument once defendant filed its response. (Docket no. 281). On July 5, 2023,

 defendant filed its brief in opposition. (Docket no. 282).

        As shown in the memorandum in support of this motion and defendant's opposition, the

 parties agree that if plaintiffs prevail on their claims before the jury and make a determination to

 seek equitable relief, a separate proceeding before the District Judge would be necessary.

 Plaintiffs' motion requests that if a hearing on equitable relief is necessary following the jury

 trial, the court should determine "at that time the extent to which additional fact and expert

 discovery related to equitable remedies is necessary". (Docket no. 276 at 1). Defendant opposes

 this motion on various grounds, some procedural and some substantive. Defendant argues this is

 not a motion to clarify but it is a motion to modify the scheduling order that would require a

 showing of good cause. Defendant states that the issue of conducting additional discovery as to

 equitable remedies following the jury trial was not discussed during the negotiations concerning

                                                   1




                                            DEFS034
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 the scheduling order. Defendant notes there is no provision in the scheduling order addressing

 how the court would proceed with determining plaintiffs' entitlement to equitable relief

 following the jury trial or the bifurcation of discovery relating to potential equitable remedies.

 Defendant takes the position that the deadlines in the scheduling order requiring that all fact and

 expert discovery must be completed by certain dates includes all fact and expert discovery

 concerning any equitable remedies that plaintiffs may seek following any verdict in plaintiffs'

 favor. Defendant argues that it would be prejudicial at this stage ofthe proceedings to

 "bifurcate" any discovery relating to potential equitable relief. Defendant relies on Judge

 Payne's approach in Steves & Sons, Inc. v. Jeld-Wen, Inc., 345 F. Supp. 3d 614(E.D. Va. 2018)

 in which it appears that no additional fact discovery was undertaken between the jury verdict and

 the court's initial determination on plaintiffs entitlement to equitable relief. However,in that

 case Judge Payne's initial and supplemental scheduling orders specifically addressed the timing

 of an evidentiary hearing regarding equitable relief, if needed,following the jury trial.'
         Given that the current scheduling order in this case does not address the procedure to be

 followed ifthe jury finds for plaintiffs and plaintiffs then decide to pursue equitable relief,

 seeking some clarification on that matter is appropriate. Plaintiffs' motion makes the seemingly

 simple request that the court would determine what additional fact and expert discovery "is

 necessary" if plaintiffs prevail at the jury trial and then decide to seek equitable relief based on




        'A review ofthe docket sheet in Steves & Sons reveals the process followed by Judge
 Payne after the initial jury trial included having the plaintiff identify the specific equitable relief
 being sought, the legal basis for that relief, the witnesses to be called, and the documents
 intended to be introduced. The parties were directed to provide a list of expert witnesses to be
 called at the hearing and to agree on a schedule for exchanging expert reports relating to the
 equitable relief being sought. (Docket no. 1132). After Judge Payne found divestiture was
 appropriate, a special master was appointed to obtain information and make a recommendation
 as to how that divestiture should be accomplished.




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 the jury's verdict. Justifiably, defendant is concerned that plaintiffs' request could be interpreted

 as an indication that additional fact discovery would be necessary which could result in another

 round of expensive and time-consuming fact discovery. As shown in the correspondence

 reflecting the consultation among counsel prior to filing this motion (Docket nos. 282-3 and 282-

 4)and in plaintiffs' memorandum, plaintiffs have failed to provide defendant or the court with

 any specific information concerning what additional discovery may be needed that is "unique to

 potential equitable remedies". They refer to "technical feasibility" and the potential need to

 review additional source code, hardware on which the source code resides, and Application

 Programming Interface calls made among and within defendant's systems but they do not

 specify how any of that information would be needed to argue what equitable remedy is

 appropriate based on the jury's findings. In any event, the first step in this process is that

 plaintiffs must obtain ajury verdict in its favor. The next step would be for plaintiffs to decide,

 based on the jury's findings, whether they want to seek any equitable relief and, if so, what relief

 they want to request. As in Steves & Sons, plaintiffs will need to identify the equitable relief

 being sought based on the outcome ofthe jury trial promptly and provide the legal basis for that

 requested relief. At that point, it is likely that the parties would need to engage in some limited,

 additional exchange ofexpert reports that would address the specific remedies being sought.

        For these reasons, plaintiffs' motion is granted in part. In the event plaintiffs obtain a

 jury verdict is their favor on liability and monetary damages,the court will promptly convene a

 status conference to discuss whether plaintiffs wish to pursue equitable relief based on the jury's

 verdict, what equitable relief plaintiffs intend to pursue, the schedule for exchanging expert

 reports addressing the specific equitable remedy or remedies being sought, the schedule for

 briefing by the parties, and a date for the hearing. While it is unlikely that additional fact




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 discovery will be necessary for the court to decide what, if any, equitable remedies are

 appropriate, the parties will have the opportunity to address that issue at that status conference

 following any jury verdict in plaintiffs' favor.

        Entered this 11th day of June, 2023.                                                 -
                                                        John F. Anderson
                                                        United States IVIagiRtrafP .tprfge
                                                       John F. Anderson
                                                       United States Magistrate Judge
 Alexandria, Virginia




                                            DEFS037
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM
                                                      HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                                Defendant.



 STATE OF COLORADO, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM
                                                      HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                                Defendant.


                         ORDER TO BIFURCATE PROCEEDINGS

        The Parties in the above-captioned actions have jointly requested to bifurcate the

proceedings to hold separate trials on liability and, if necessary, remedy.

        Rule 42(b) of the Federal Rules of Civil Procedure authorizes a court to hold a separate

trial on one or more separate issues, “[f]or convenience, to avoid prejudice, or to expedite and

economize.” The Court has considered the Parties’ requests for separate trials in this matter

regarding (a) the liability of the Defendant for violations of Section 2 of the Sherman Act, 15

U.S.C. § 2, as alleged by the U.S. Plaintiffs and the Plaintiff States, and (b) the remedies for any

such violations.



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       The Court finds that, to the extent necessary, holding separate trials on the issues of

liability and remedies will be more convenient for the Court and the Parties, and will expedite

and economize this litigation.

       IT IS THEREFORE ORDERED

       1.      There will be a liability phase in each matter that will address only the

Defendant’s liability under the Sherman Act, and, if the Court renders a decision finding the

Defendant liable, the Court will hold separate proceedings regarding the remedies for

Defendant’s violation(s) of the Sherman Act.

       2.      During the liability phase, expert discovery and testimony need not offer specific

opinions regarding particular remedies beyond that necessary to demonstrate liability under

Section 2 of the Sherman Act.

       3.      Nothing in this Order shall (a) alter the Parties’ respective abilities in either action

to offer evidence relevant to any issue in the liability proceedings nor alter the burden of proof,

persuasion, or production to establish each and every element of liability, justifications, or

defenses, or (b) prohibit or limit discovery during the liability phases of these actions on issues

relevant to liability under Section 2 of the Sherman Act.



 Dated:                                                  _____________________________
                                                                   Amit. P. Mehta
                                                          United States District Court Judge




                                             DEFS039
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 1                                                    THE HONORABLE JOHN H. CHUN

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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7

 8
                                                     CASE NO.: 2:23-cv-01495-JHC
 9     FEDERAL TRADE COMMISSION, et al.,
                                                     PLAINTIFFS’ MOTION TO
10                      Plaintiffs,                  BIFURCATE

11                 v.                                NOTE ON MOTION CALENDAR:
                                                     March 15, 2024
12     AMAZON.COM, INC., a corporation,
                                                     ORAL ARGUMENT REQUESTED
13                      Defendant.

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      MOTION TO BIFURCATE                                  FEDERAL TRADE COMMISSION
      CASE NO. 2:23-cv-01495-JHC                               600 Pennsylvania Avenue, NW
                                                                      Washington, DC 20580
                                                                             (202) 326-2222

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 1                                              INTRODUCTION

 2              Plaintiffs move to bifurcate this action into two separate proceedings: a trial solely on

 3 liability to be followed by a proceeding on remedies. By first addressing liability, Plaintiffs will

 4 be able to present a streamlined case focused on showing the Court how Amazon has violated the

 5 law and harmed competition to the detriment of shoppers and sellers. Once the Court finds Amazon

 6 liable, the Parties would then move to a remedy proceeding tailored to the Court’s specific findings

 7 on liability. Bifurcation allows the Parties to make focused presentations at each stage, thereby

 8 reducing the overall burden on the Parties, the Court, and non-party witnesses alike. Given the

 9 efficiencies associated with proceeding in this manner, Plaintiffs respectfully ask this Court to

10 order that the trial be bifurcated.

11                                               BACKGROUND

12              Plaintiffs filed this suit to challenge the illegal course of exclusionary conduct Amazon

13 deploys to block competition, stunt rivals’ growth, and cement its dominance to the detriment of

14 the tens of millions of American households who regularly shop on Amazon’s online superstore

15 and the hundreds of thousands of businesses who rely on Amazon to reach them. (¶¶ 3, 7.) 1             0F




16 Plaintiffs allege that Amazon has illegally maintained monopoly power in two discrete but

17 interrelated markets (¶¶ 117-19) through intricate schemes that span more than a decade

18 (¶¶ 257-415). Plaintiffs collectively bring twenty claims against Amazon under the FTC Act, the

19 Sherman Act, and state competition and consumer protection laws. (¶¶ 442-564.) Plaintiffs seek,

20 among other relief, equitable relief necessary to “redress and prevent recurrence of Amazon’s

21 violations of the law” and “restore fair competition and remedy the harm to competition caused by

22 Amazon’s violations of the law,” along with “any additional relief the Court finds just and proper.”

23

24    1
          Citations in the form (¶ __) are to Plaintiffs’ Complaint, Dkt. #114.
      MOTION TO BIFURCATE - 1                                              FEDERAL TRADE COMMISSION
      CASE NO. 2:23-cv-01495-JHC                                               600 Pennsylvania Avenue, NW
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 1 (Complaint, Dkt. #114 at 148-49.) Plaintiff States also seek equitable monetary relief and the costs

 2 of suit. (Id. at 149.)

 3           While Plaintiffs and Amazon appear to agree that fact discovery should encompass both

 4 liability and remedy issues, Amazon opposed Plaintiffs’ proposal “that trial should address only

 5 Amazon’s liability under Section 5 of the FTC Act, Section 2 of the Sherman Act, and applicable

 6 state competition and consumer protection laws.” (Joint Status Report, Dkt. #135 at 44-45.)

 7 Plaintiffs now move for bifurcation consistent with the Case Scheduling Order (Dkt. #159).

 8                                         LEGAL STANDARD

 9           Federal Rule of Civil Procedure 42(b) allows “the court [to] order a separate trial of one

10 or more separate issues” “[f]or convenience, to avoid prejudice, or to expedite and economize.”

11 Rule 42(b) “confers broad discretion upon the district court to bifurcate a trial, thereby deferring

12 costly and possibly unnecessary proceedings pending resolution of potentially dispositive

13 preliminary issues.” Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002); see also

14 Estate of Diaz v. City of Anaheim, 840 F.3d 592, 601 (9th Cir. 2016) (“It is clear that Rule 42(b)

15 gives courts the authority to separate trials into liability and damages phases.” (cleaned up)). In

16 considering a motion for bifurcation, “[c]ourts weigh several factors, including convenience,

17 prejudice, and judicial economy in determining whether to phase or bifurcate proceedings.”

18 United States v. Boeing Co., 2023 WL 5836487, at *2 (W.D. Wash. Aug. 31, 2023). Bifurcation

19 should “be encouraged where experience has demonstrated its worth.” Fed. R. Civ. P. 42(b)

20 advisory committee’s notes to 1966 amendment.

21                                             ARGUMENT

22           Complex antitrust cases, like this one, are often bifurcated into separate liability and

23 remedies proceedings to increase convenience and judicial economy. (§ I.) The rationale for

24 bifurcation applies with particular force here given the scope of the allegations and the role the
      MOTION TO BIFURCATE - 2                                          FEDERAL TRADE COMMISSION
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 1 Court’s findings on liability will play in guiding the Parties’ remedies arguments. (§ II.) Amazon’s

 2 arguments against bifurcation are unpersuasive and actually underscore why bifurcation is

 3 especially appropriate here. (§ III.)

 4 I.        COURTS COMMONLY SPLIT COMPLEX ANTITRUST CASES INTO

 5           SEPARATE LIABILITY AND REMEDY PHASES FOR PURPOSES OF

 6           CONVENIENCE AND JUDICIAL ECONOMY.

 7           Bifurcating liability and relief into separate proceedings in especially complex cases is a

 8 common and “obvious” application of Rule 42(b) because “liability must be resolved before

 9 damages are considered.” 9A Charles A. Wright & Arthur R. Miller, Federal Practice &

10 Procedure § 2390 (3d ed. 2016). Courts have often found complex antitrust cases well-suited for

11 bifurcation due to the intricacy of the liability issues and the efficiencies in addressing each phase

12 separately. See id. (noting that “a significant number of federal courts, in many different kinds of

13 civil litigation, have ordered the questions of liability and damages to be tried separately, for

14 example in cases involving antitrust” (emphasis added)); accord Goldfarb v. Va. State Bar, 421

15 U.S. 773, 778 (1975) (district court conducted bench trial “solely on the issue of liability” in case

16 brought under the Sherman Act for injunctive relief and damages); Oltz v. St. Peter’s Cmty. Hosp.,

17 19 F.3d 1312, 1313 (9th Cir. 1994) (bifurcated antitrust trial on liability and remedies); In re Data

18 Gen. Corp. Antitrust Litig., 490 F. Supp. 1089, 1099 (N.D. Cal. 1980) (same); Wall Prods. Co. v.

19 Nat’l Gypsum Co., 357 F. Supp. 832, 834 (N.D. Cal. 1973) (same); see also, e.g., In re Master Key

20 Antitrust Litig., 528 F.2d 5, 15 (2d Cir. 1975) (recognizing that “bifurcated trials have frequently

21 been employed with great success [including] in antitrust suits”).

22           Resolving complex antitrust cases is often a significant undertaking. See generally 3B

23 Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and

24 Their Application (“Areeda & Hovenkamp”) ¶ 311a (5th ed. 2020) (“[A]n antitrust case may
      MOTION TO BIFURCATE - 3                                          FEDERAL TRADE COMMISSION
      CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
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                                               DEFS047
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 1 involve so many issues, documents, witnesses, and lawyers as to defy comprehension . . . .”).

 2 Bifurcating remedy proceedings from the underlying resolution of liability allows the factfinder to

 3 address each of these complex issues independently, promoting the efficient development and

 4 presentation of evidence on the merits. See, e.g., In re High Fructose Corn Syrup Antitrust Litig.,

 5 295 F.3d 651, 666 (7th Cir. 2002) (Posner, J.) (“No doubt in view of the complexity of [this

 6 antitrust] case the judge will also want to bifurcate the trial, that is, to have a trial on liability first

 7 and only if the jury finds that the defendants violated the law to conduct a trial to determine the

 8 plaintiffs’ damages.”); Kraft Foods Glob., Inc. v. United Egg Producers, Inc., 2023 WL 5177501,

 9 at *10-13 (N.D. Ill. Aug. 11, 2023) (recognizing that “antitrust cases are often strong candidates

10 for bifurcation” given their complexity and granting motion to bifurcate trial into liability and

11 damages phases in part to avoid “add[ing] another layer of complexity to an already complex

12 trial”); Union Carbide Corp. v. Montell N.V., 28 F. Supp. 2d 833, 837-38 (S.D.N.Y. 1998)

13 (ordering bifurcation to “[s]egment[] difficult issues of liability and damages” in antitrust case

14 involving “voluminous evidence and difficult concepts lying at the crossroads of law and

15 economics” where “[c]onfronting one complex set of issues at a time” would reduce potential

16 confusion); Reines Distribs., Inc. v. Admiral Corp., 257 F. Supp. 619, 621 (S.D.N.Y. 1965) (“The

17 inherent complexity of an antitrust case is itself a factor promoting a separate trial of an issue in

18 such a case where the result of the separate trial may simplify the litigation.”).

19           Moreover, it is often efficient to address how a monopolist violated the law separately from

20 how to appropriately remedy that violation given the wide variety of relief that may be necessary.

21 Equitable relief may need to be much broader than simply ordering the monopolist to cease the

22 illegal conduct. “The principal purpose of equitable relief” in monopolization cases “is not to

23 punish violations but to restore competitive conditions—the ‘undoing’ of what the antitrust

24 violation achieved.” 3D Areeda & Hovenkamp ¶ 325c. Accordingly, if a district court concludes
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 1 that monopolization has occurred, “the available injunctive relief is broad” because the court must

 2 “terminate the illegal monopoly, deny to defendant the fruits of its statutory violation, and ensure

 3 that there remain no practices likely to result in monopolization in the future.” Optronic Techs.,

 4 Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466, 486 (9th Cir. 2021) (quoting United States v.

 5 Microsoft Corp., 253 F.3d 34, 103 (D.C. Cir. 2001) (en banc) (per curiam)); accord Ford Motor

 6 Co. v. United States, 405 U.S. 562, 573 (1972) (holding that antitrust relief must restore

 7 competition).

 8           In order to efficiently carry out this broad mandate, courts often bifurcate complex antitrust

 9 cases to allow the remedies proceeding to be tailored to the specific violations found by the court.

10 The court cannot craft appropriate injunctive relief until it knows “the wrong creating the occasion

11 for the remedy.” Microsoft, 253 F.3d at 107. Separate proceedings can thus be more efficient

12 because the scope and specifics of any remedy depend on the scope and specifics of the court’s

13 liability determination. Cf. id. at 103-05 (vacating district court’s remedy decree because court of

14 appeals revised underlying bases of liability, requiring district court to reevaluate remedy based

15 on new scope of liability). When proceedings are not bifurcated in cases with a broad scope,

16 witnesses may have to testify about a range of potential remedies covering all possible liability

17 outcomes. This could result in the parties litigating—and the court considering—remedies that

18 may ultimately be foreclosed by the court’s liability determinations, thereby reducing judicial

19 economy. See Kraft Foods, 2023 WL 5177501, at *10 (bifurcation allows the parties and the court

20 to focus on remedies that are “actually in play after [a] liability verdict”). And, as courts have

21 recognized, bifurcation may obviate the need for a remedies proceeding altogether. See, e.g.,

22 Reines Distribs., 257 F. Supp. at 621 (“If plaintiff should lose on [liability], the issue[] of . . .

23 damage[s] . . . will be out of the case and there will be neither duplication nor cumulation.”

24 (cleaned up)).
      MOTION TO BIFURCATE - 5                                           FEDERAL TRADE COMMISSION
      CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
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 1           Given the benefits that bifurcation can bring, it is unsurprising that courts overseeing recent

 2 complex monopolization cases concerning online markets have bifurcated proceedings into bench

 3 trials on liability followed by separate tailored proceedings on remedies. See United States v.

 4 Google LLC, No. 1:20-cv-03010 (D.D.C. Dec. 6, 2021), Dkt. #264 (“The Court finds that, to the

 5 extent necessary, holding separate trials on the issues of liability and remedies will be more

 6 convenient for the Court and the Parties, and will expedite and economize this litigation.”); FTC

 7 v. Meta Platforms, Inc., No. 1:20-cv-03590 (D.D.C. Mar. 3, 2022), Dkt. #103 (“There will be a

 8 first phase that will address only the Defendant’s liability under the antitrust laws. If the Court

 9 renders a decision finding the defendant liable, then the Court will hold a separate proceeding

10 regarding any remedies for any violations of the antitrust laws that it finds.”); accord United States

11 v. Google LLC, No. 1:23-cv-00108 (E.D. Va. June 11, 2023), Dkt. #283 (“In the event plaintiffs

12 obtain a jury verdict [in] their favor on liability and monetary damages, the court will promptly

13 convene a status conference to discuss whether plaintiffs wish to pursue equitable relief based on

14 the jury’s verdict, what equitable relief plaintiffs intend to pursue, the schedule for exchanging

15 expert reports addressing the specific equitable remedy or remedies being sought, the schedule for

16 briefing by the parties, and a date for the hearing.”); In re Google Play Store Antitrust Litig.,

17 No. 3:21-md-02981 (N.D. Cal. Jan. 18, 2024), Dkt. #917 (noting court’s intention to “hear from

18 the parties’ economist experts at [an] evidentiary hearing on the issue of an appropriate conduct

19 remedy” following jury trial on liability that resulted in verdict in favor of plaintiff).

20 II.       BIFURCATING THE LIABILITY AND REMEDIES PHASES OF THIS CASE

21           WOULD BE CONVENIENT AND PROMOTE JUDICIAL ECONOMY.

22           This case is broader in scope and complexity than a typical antitrust case. As such, the

23 rationales related to convenience and judicial economy that courts have applied in other complex

24 antitrust cases when ordering bifurcation weigh in favor of separate proceedings here.
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 1           As discussed above, remedying monopolization requires not only halting illegal conduct,

 2 but also restoring competition. (See § I.) To craft an appropriate remedy here, the Court will need

 3 to understand the mechanics of how Amazon has violated the law to fashion injunctive relief

 4 sufficient to return the markets to the states they would have been in absent Amazon’s illegal

 5 conduct. The scope of the inquiry on remedies combined with the scope of Amazon’s challenged

 6 practices heightens the benefits of holding a separate liability trial.

 7           Plaintiffs allege Amazon has used many different programs, business units, and tactics to

 8 illegally maintain its monopolies in two separate but interrelated markets. Contractual price parity

 9 clauses, Select Competitor–Featured Offer Disqualification, Amazon Standards for Brands,

10 Customer Experience Ambassadors, and a first-party anti-discounting algorithm all contribute to

11 Amazon’s long-term strategy of punishing online discounting. (¶¶ 272-304, 326-32.) Amazon also

12 uses Prime eligibility, the Featured Merchant Algorithm, Fulfillment by Amazon, and Seller

13 Fulfilled Prime to reduce seller multihoming. (¶¶ 351-60, 397-409.) And Amazon used Project

14 Nessie to raise prices by manipulating other online stores’ pricing algorithms. (¶¶ 416-32.) The

15 Court must assess Amazon’s tactics holistically and examine the cumulative impact of Amazon’s

16 unlawful behavior. See City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th Cir. 1992)

17 (“[I]t would not be proper to focus on the specific individual acts of an accused monopolist while

18 refusing to consider their overall combined effects.”); Plaintiffs’ Opposition to Amazon’s Motion

19 to Dismiss, Dkt. #149 at 6-8. A separate trial on liability would allow the Court to make this holistic

20 assessment in the context of focused presentations about how Amazon’s various tactics fit

21 together. Simultaneously evaluating remedy issues and Amazon’s liability for its course of

22 conduct, on the other hand, would “add another layer of complexity to an already complex trial.”

23 Kraft Foods, 2023 WL 5177501 at *11.

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 1           The number and variety of laws Amazon has violated also favors bifurcation. Several

 2 Plaintiff States allege that Amazon has engaged in deceptive acts or practices in addition to unfair

 3 and anticompetitive conduct. (¶¶ 513, 522(c), 541-52.) These claims differ from Plaintiffs’

 4 antitrust claims and will require independent analysis of applicable remedies. Certain Plaintiff

 5 States have also raised state law claims for equitable monetary relief, including disgorgement.

 6 (See, e.g., ¶¶ 482(a), 507(a), 521(b), 523(b), 540, 552, 561.) Plaintiff FTC also alleges that Amazon

 7 has engaged in unfair methods of competition in violation of Section 5 of the FTC Act (¶¶ 454-63),

 8 a law with a broader reach than the Sherman Act. See Plaintiffs’ Opposition to Amazon’s Motion

 9 to Dismiss, Dkt. #149 at 18-20. The scope of claims advanced here thus increases the breadth of

10 issues to be decided beyond those normally at issue in an antitrust case, and further supports

11 streamlining an already complex trial.

12           In addition, bifurcation will simplify the proceedings on remedies and save the Court and

13 the Parties significant time and resources by enabling the Parties to tailor presentations on remedies

14 to the Court’s liability findings. (See § I above.) For example, the Court’s findings regarding how

15 each strain of Amazon’s anticompetitive conduct amplifies the effects of every other

16 anticompetitive behavior it has engaged in will impact what equitable relief may be necessary to

17 “unfetter [the] market[s] from anticompetitive conduct.” Microsoft, 253 F.3d at 103 (quoting Ford

18 Motor Co., 405 U.S. at 577).

19           For the reasons explained above, adoption of Plaintiffs’ bifurcation proposal would make

20 the proceedings more convenient for the Parties and the Court and promote judicial economy.

21 III.      AMAZON’S ARGUMENTS AGAINST BIFURCATION HIGHLIGHT THE NEED

22           FOR BIFURCATION.

23           Amazon claims that bifurcation will result in “massive duplication” because determining

24 liability requires “pressure testing . . . what the remedy would be” and that bifurcation would
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 1 therefore require some witnesses to testify during both phases. (February 8, 2024 Scheduling

 2 Conference Tr. at 9:23-10:11; id. at 11:24-12:3.) Amazon’s arguments are not persuasive; in fact,

 3 they show why bifurcation would be useful and appropriate.

 4           Amazon’s argument against bifurcation confuses the remedy phase of an antitrust case with

 5 the much narrower question that may be relevant within the liability analysis of whether

 6 “substantially less restrictive means exist to achieve any proven procompetitive benefits.” NCAA

 7 v. Alston, 594 U.S. 69, 100 (2021). (See, e.g., Scheduling Conference Tr. at 10:5-11 (“[I]f you’re

 8 attacking something that, in their words, goes to the core of our operations, which we deem to be

 9 exceptionally pro-customer, we have to talk about what is it they think should be different, and

10 we’re going to have to talk about that in the liability phase. So we’re going to end up in a situation

11 where there’s just a lot of repetition, if there’s a separate remedy phase.”).) At the liability phase,

12 the Court may need to probe alternative conduct Amazon could have engaged in if—and only if—

13 Amazon proves that its anticompetitive conduct also has cognizable procompetitive benefits. But

14 the “less restrictive alternatives” issue is very different and much more circumscribed than

15 deciding appropriate remedies after liability is established. The purpose of the “less restrictive

16 alternative” inquiry at the liability phase is to determine whether a restraint with anticompetitive

17 effects is unreasonably broad—that is, broader than necessary to achieve its purported

18 procompetitive justification. See Alston, 594 U.S. at 100-01. This is a fundamentally different

19 inquiry than the one the court must engage in to fashion an appropriate equitable remedy, where

20 its task is to “cure the ill effects of the illegal conduct, and assure the public freedom from its

21 continuance.” United States v. U.S. Gypsum Co., 340 U.S. 76, 88 (1950); see also United States v.

22 Grinnell Corp., 384 U.S. 563, 577 (1966) (“[A]dequate relief in a monopolization case should put

23 an end to the combination and deprive the defendants of any of the benefits of the illegal conduct,

24 and break up or render impotent the monopoly power found to be in violation of the Act.”).
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 1 Amazon’s improper conflation of these issues helps to show why bifurcation is needed. See Hirst

 2 v. Gertzen, 676 F.2d 1252, 1261 (9th Cir. 1982) (upholding bifurcation in part because “certain

 3 evidence relevant [to the second proceeding] might [have] tend[ed] to obscure the more

 4 fundamental question [in the first proceeding]”).

 5          Amazon’s contention that bifurcation would require presenting the same evidence twice is

 6 without merit. The remedies phase may not require additional witness testimony. See, e.g., United

 7 States v. Am. Express Co., No. 1:10-cv-04496 (E.D.N.Y. Feb. 19, 2015), Dkt. #620 (ordering,

 8 following bench trial resulting in liability for antitrust violations, that each party submit proposed

 9 remedial orders within thirty days “consistent with the analysis” in court’s findings of fact and

10 conclusions of law and accompanied by “a supporting memorandum explaining why the court

11 should adopt its proposed remedy”). To the extent there is evidence relevant to both phases,

12 bifurcation will not result in “massive duplication.” Because the Court is acting as the factfinder,

13 it can rely on evidence submitted at the liability bench trial during the remedies phase without

14 repetition of testimony. See, e.g., New York v. Microsoft Corp., 224 F. Supp. 2d 76, 98 (D.D.C.

15 2002) (concluding that “the district court’s factual findings . . . may be relied upon during the

16 remedy phase of this proceeding” as “it would make little sense to proceed to craft a remedy in the

17 absence of substantial reliance upon the factual foundation which underlies the liability entered in

18 this case”); Yanni v. City of Seattle, 2005 WL 2180011, at *2 (W.D. Wash. Sept. 9, 2005) (granting

19 motion for bifurcation over defendants’ objections concerning “duplicative” testimony because

20 the factfinder can “consider testimony from the first phase in [its] deliberations in the second

21 phase”); Gaekwar v. Amica Mut. Ins. Co., 2024 WL 85089, at *2 (W.D. Wash. Jan. 8, 2024)

22 (granting bifurcation motion and noting that “trying the case before a single [factfinder] in two

23 phases will minimize the need for any evidence and witnesses to be presented twice, thereby

24 undermining [the] argument that bifurcat[ion] will lengthen and increase the cost of trial”).
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 1          If, however, the Court finds that it would be helpful to hear further testimony during the

 2 remedies phase, including from a witness who appeared during the liability phase, the Court can

 3 impose limits on the scope of testimony to avoid repetition. See, e.g., Navellier v. Sletten, 262 F.3d

 4 923, 941 (9th Cir. 2001) (recognizing that “[t]rial courts have broad authority” to manage trials

 5 and “challenges to trial court management” are reviewed for “abuse of discretion”); Kraft Foods

 6 Glob., Inc. v. United Egg Producers, Inc., No. 1:11-cv-8808 (N.D. Ill. Nov. 27, 2023), Dkt. #587

 7 (order limiting evidence parties may present during bifurcated damages phase to avoid duplication

 8 of evidence received during liability phase). Some overlap in evidence, moreover, is not a barrier

 9 to bifurcation because the Court’s dual role will ensure that Amazon is not prejudiced. See F & G

10 Scrolling Mouse, L.L.C. v. IBM Corp., 190 F.R.D. 385, 388 & n.5 (M.D.N.C. 1999) (“[A] mere

11 minor overlap of evidence between the liability phase and the damage phase has not prevented

12 courts from ordering an otherwise justified bifurcation.”) (collecting cases); Greening v. B.F.

13 Goodrich Co., 1993 WL 134781, at *3 (N.D. Ill. Apr. 23, 1993) (“Any minimal overlap of

14 evidence on these issues is outweighed by the potential for judicial economy through bifurcation .

15 . . .”). Amazon’s concerns that bifurcation would lead to “massive duplication” are therefore

16 unfounded.

17          While a non-bifurcated proceeding may obviate the need for any witness to testify twice,

18 the time each witness spends on the stand during that single proceeding will likely run much longer

19 than the time they would spend testifying across two bifurcated proceedings. Absent bifurcation,

20 such trial witnesses will need to testify not only about complex issues relevant to liability, but also

21 about a range of potential remedies covering a constellation of conceivable liability findings.

22 Conducting a single proceeding to avoid “duplication” of testimony—an objective also readily

23 achievable through bifurcation—is not more economical or convenient if doing so sacrifices

24 efficiency and makes an already complex case even more complicated.
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1                                            CONCLUSION

 2           Plaintiffs respectfully submit that the Court should grant this motion and bifurcate the

 3 proceedings into liability and remedies phases in accordance with Plaintiffs’ proposed order. To

 4 the extent the Court is not inclined to order bifurcated proceedings at this time, Plaintiffs

 5 respectfully request the Court defer resolution of this motion until this case is closer to trial. At

 6 present, the Parties agree that fact discovery should encompass both liability and remedy issues,

 7 which alleviates the need for an immediate decision on bifurcation.

 8

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      Dated: February 29, 2024
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                                          3,704 words, in compliance with the Local Civil Rules.
11
                                          Respectfully submitted,
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